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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY

MATTHEW GIBSON,
Plaintiff,

V. CIVIL ACTION NO.: 5:21-cv-00181
HONORABLE FRANK W. VOLK

LOUISE E. GOLDSTON, individually,
COUNTY COMISSION OF RALEIGH
COUNTY, a political subdivision,
JEFF MCPEAKE, individually,
BRIAN WHITE, individually,

BOBBY STUMP, individually,

KYLE LUSK, individually,

Defendants.

DEFENDANTS COUNTY COMMISSION OF RALEIGH COUNTY, JEFF MCPEAKE,
BRIAN WHITE, AND BOBBY STUMP’S MEMORANDUM OF LAW IN SUPPORT OF
THEIR MOTION TO DISMISS THE PLAINTIFF’S COMPLAINT

NOW COME the Defendants, County Commission of Raleigh County, Jeff McPeake, Brian
White, and Bobby Stump, by and through counsel, J. Victor Flanagan, Kevin J. Robinson and the
law firm of Pullin, Fowler, Flanagan, Brown & Poe, PLLC, and respectfully move this Court to
dismiss Plaintiff's Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. In
support of their Motion, Defendants state as follows:

STATEMENT OF FACTS AS ALLEGED IN THE COMPLAINT

Plaintiff, Matthew Gibson alleges that he was subjected to an unreasonable search and
seizure by the Defendants. (See Plaintiff's Complaint, attached to the Motion to Dismiss as Exhibit
A). Particularly, the Plaintiff alleges that over the past twenty years as a Family Court Judge,

Defendant Goldston has been engaging in the practice of visiting homes of litigants appearing in
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front of her. (/d. at § 8). Plaintiff avers that Defendant Goldston went to litigants’ homes to either
determine if certain disputed marital property was present and/or to supervise the transfer of disputed
property. (/d.). Plaintiff further avers that Defendant Goldston admitted to conducting these home
visits in her capacity as a Family Court Judge on twelve separate occasions. (/d.).

Plaintiff alleges that on September 18, 2020, the West Virginia Judicial Investigation
Commission filed a Formal Statement of Charges against Defendant Goldston following the
commission of one of the home visits at the home of Plaintiff, Matthew Gibson. (/d. at] 9). Plaintiff
also alleges that the Formal Statement of Charges alleged that probable cause existed to formally
charge Defendant Goldston with violations of the Code of Judicial Conduct and that formal
discipline was appropriate. (/d.).

In addition, Plaintiff avers that on March 4, 2020, during a contempt hearing in the Plaintiff's
divorce case, Defendant Goldston, along with her Co-Defendants, entered the Plaintiff's home to
search and seize items of personal property which the Plaintiff was alleged to have failed to turn over
to his ex-wife following the finalization of his divorce more than one year earlier. (/d. at J 10).

Plaintiff appeared before Judge Goldston on September 18, 2018, for the final hearing in his
divorce action. (/d. at 911). Plaintiff's ex-wife was represented by Defendant Kyle Luck, Esq. (/d.).

The Court granted the divorce at the request of the parties, adopting a settlement agreement between
the parties. (/d.). Plaintiff further avers that the final order in the divorce action provides, in-part,
that “the parties divided their household furnishings by agreement which is represented by a four
page exhibit entered before the Court and attached hereto.” (/d. at § 12). The final order further
provided that, “The circled items are Respondents” and “The items not circled are the Petitioners.”

(Id.).
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Furthermore, Plaintiff avers that contrary to the representations contained in the order itself,
the original personal property disbursement agreement list document was not actually attached to the
order, as it was represented to be verbally by the Court on record. In the Investigative Panel Findings
and Conclusions of the Lawyer Disciplinary Board in Complaint No. 20-05-104 against Defendant
Kyle Lusk, in a footnote on page 15 of the said document, the Board noted that “The Court noted the
original property form was not attached to the Order from the September 2018 hearing in the
divorce.” (/d. at ¥ 13).

Just over a year after the final divorce hearing, on or about, September 26, 2019, the
Plaintiff's ex-wife, by Defendant Lusk, filed a Petition of Contempt against the Plaintiff, alleging
that she did not receive all of the items of personal property from the original personal property
disbursement list, or alternatively she alleged that the items received by the Plaintiff were allegedly
damaged. (/d. at { 14). The ex-wife’s petition, as drafted by Defendant Lusk, alleged that “many of
the items had great sentimental value to the Petitioner” and that Mr. Gibson’s actions “were carried
out to inflict emotional harm and suffering to the Petitioner.” (/d.). Plaintiff further alleges that
pursuant to the filing of the Petition for Contempt, Defendant Lusk submitted an altered property
disbursement agreement list to the Court, as the original had not been attached to the final order. (/d.
at 9 15). Plaintiff avers that the altered personal property agreement list submitted by Defendant
Lusk contained numerous discrepancies with the original property list document introduced to the
Court at the final hearing. (/d.).

On March 4, 2020, the parities appeared before Judge Goldston for a hearing on the petition
for contempt. (/d. at § 16). Plaintiff alleges that during the hearing, Judge Goldston suddenly and

without explanation asked Mr. Gibson, who was representing himself pro se, for his home address.
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(/d. at] 16). Plaintiff further alleges that Judge Goldston sua sponte stopped the hearing and ordered
the parties to meet at Mr. Gibson’s house in ten minutes. (/d.). Moreover, Plaintiff alleges that
because she failed to explain the reason for the home visit, Mr. Gibson was unable to raise any
objection while still at the hearing. (/d.).

Plaintiff avers that once everyone arrived at Mr. Gibson’s home on March 4, 2020, and the
purpose of the visit became clear, the Plaintiff moved to recuse Defendant Goldston on the grounds
that she had become a potential witness in the case. (/d. at J] 19). Judge Goldston denied the motion.
(Id.).

Plaintiff avers that he then verbally refused to allow Defendant Goldston or anyone else in his
house without a search warrant. (/d. at ] 20). Plaintiff also avers that Defendant Goldston threatened
to put Mr. Gibson in jail if he denied them entry into his house. (/d.). Plaintiff avers he had no
choice but to relent. (/d.).

Upon Judge Goldston’s arrival to the property, Plaintiff alleges that he instructed a third party
to video record the initial interactions outside the house between Defendant Goldston and the parties.
(Ud. at § 21). Plaintiff alleges he also recorded several minutes of audio of the initial interaction on
his cell phone before being forced to turn it off. (/d.).

Plaintiff alleges that when the video and audio recordings were discovered by Defendant
Goldston, she order both recordings stopped, following her threat of arrest and incarceration. (/d. at J
22). However, once inside the house, Defendant Goldston’s bailiff, Defendant McPeake, used his
personal phone to record both video and audio of the separation of marital assets. (/d.). Plaintiff
avers that he was unware at the time that Defendant McPeake was recording video inside his home.

(Id.).
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Moreover, Plaintiff avers that he observed a phone in McPeake’s hand at the time, but did not
observe that he was recording. (/d.). Plaintiff avers that McPeake recorded for a total of 7 minutes —
though the total search lasted 20 to 30 minutes. (/d.). Plaintiff also avers that McPeake never
disclosed to the Plaintiff that he had been recording video in his home. (/d.).

Plaintiff alleges that McPeake provided the video to Defendant Judge Goldston, which she
disclosed in the ensuing judicial disciplinary investigation. (/d.). Plaintiff also alleges that neither
McPeake nor Goldston disclosed the existence of the video, nor provided a copy of the video, to the
Plaintiff. (/d.). Moreover, Plaintiff avers that McPeake did not enter the video into any investigative
file with the Raleigh County Sheriff's office, his employer. (/d.). Plaintiff also avers that none of the
defendant deputies completed a report, nor any sort of documentation, of having been in Plaintiff's
house and participated in a search and seizure on March 4, 2020. (/d.)

Plaintiff avers that after he was forced by Defendant Goldston to stop recording the incident,
while standing in the front yard of his residence, Defendant Goldston stated, “Now are you gonna let
me in, or am I gonna have to put you in jail!” (/d. at 923). Plaintiff alleges at that point, Defendant
McPeake signaled on his radio for law enforcement assistance and seized the Plaintiffs phone. (/d.)

Furthermore, Plaintiff alleges at no time did Plaintiff voluntarily consent to any defendant to
enter his property, including his residence. (/d. at ]26). Also, Plaintiff alleges that at no time did he
voluntarily grant consent to participate in Family Court proceedings outside the courtroom. (/d.).
Plaintiff avers that he did not grant consent to stop filming video and audio footage of the events
which were transpiring on his property. (/d.). Plaintiff avers that at no time did he voluntarily grant
consent to the seizure of his phone. (/d.). Moreover, Plaintiff avers that at no time did he grant

consent to the seizure of items removed from the inside of his residence at the direction of Defendant
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Goldston. (/d.).

Plaintiff avers that once inside his home, Judge Goldston directed the deputies to assist
Plaintiff's ex-wife and Defendant Lusk in searching and seizing the home’s contents. (/d. at J 27).
Plaintiff avers that the search lasted a total of 20 to 30 minutes. (/d.).

Plaintiff alleges that during the search, defendant police officers Stump and White arrived
and entered Plaintiff's residence, after being called by Defendant McPeake. (/d. at § 28). Plaintiff
avers that they began to jointly participate in the search and seizure occurring inside Plaintiffs home.
(/d.). In addition, Plaintiff alleges that shortly after arriving, Defendant Stump went back outside and
instructed Plaintiffs witnesses to leave the property and Defendant Goldston allowed the Plaintiffs
ex-wife’s boyfriend, father, and brother to remain on Plaintiff's property without Plaintiffs consent.
(Id.).

Plaintiff avers that many different items of personal property were taken out of Mr. Gibson’s
home during the search, some of which belonged to Mr. Gibson’s children, as well as Mr. Gibson’s
significant other. (/d. at 29). Plaintiffalso avers that some of the items which were taken were later
returned but some items were never returned. (/d.). In addition, Plaintiff avers that none of the items
were documented in writing by the Defendants. (/d.).

Moreover, Plaintiff alleges that following the search, there was no court order issued,
establishing and describing what had occurred at Mr. Gibson’s home, nor listing an inventory or
description of the items which had been seized from inside his home. (/d.). Plaintiff alleges that
Defendant Judge Goldston did recite for the record, following the search and seizure, what had been
seized from Plaintiffs home, “to the best of her recollection.” (/d.). Plaintiff avers that some of what

she listed for the record were not items of personal property listed in the original property
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disbursement list which was supposed to have been attached to the final order. (/d.).

Finally, Plaintiff alleges six (6) counts for recovery in his Complaint: (1) Unreasonable
Search and Seizure in violation of the Fourth Amendment (2) Violation of the First Amendment, (3)
Monell claim against the RCC, (4) 14 Amendment Due Process, (5) 14" Amendment Equal
Protection, and (6) Conspiracy with State Official.

LEGAL STANDARD

Rule 12(b)(6) of the Federal Rules of Civil Procedure allows for a motion to dismiss to be
granted to a defendant where a plaintiffhas failed to state a claim upon which relief can be granted.
A motion to dismiss under Rule 12(b)(6) should be granted when it appears beyond a doubt that the
plaintiff can prove no set of facts that would entitle him or her to relief. Conley v. Gibson, 355 U.S.
41, 45-46; 78 S.Ct. 9 (1957). A motion to dismiss for failure to state a claim should generally be
granted if “it appears certain that the plaintiffcan prove no set of facts which would support its claim
and would entitle it to relief.” Mylan Laboratories, Inc. v, Matkari, 7 F.3d 1130, 1134 (4th Cir.
1993).

“To survive a Rule 12(b)(6) motion to dismiss, the facts alleged must be enough to raise a
right to relief above the speculative level and must provide enough facts to state a claim to relief that
is plausible on its face.” Robinson v. Am. Honda Motor Co., Inc., 551 F.3d 218, 222 (4th Cir.
2009)(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)) (internal quotations omitted).
“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need to detail factual
allegations, a plaintiff's obligation to provide the ‘grounds’ of his ‘entitlement to relief? requires
more than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Twombly, 550 U.S. at 555 (internal citations omitted); see also qual, -- U.S. --,--, 129 S.Ct.
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at 1949 (stating that “the rule does call for sufficient factual matter, accepted as true, to state a claim

to relief that is plausible on its face.”).

ARGUMENT OF LAW

I. Defendants Jeff McPeake, Brian White, and Bobby Stump are entitled to
qualified immunity on all counts in the Plaintiff’s Complaint.

Section 1983 is not itself a source of substantive rights, but rather provides a method for
vindicating federal constitutional and statutory rights. 42 U.S.C. §1983; Albright v. Oliver, 510 U.S.
266, 271 (1994). “A federal civil rights claim based upon § 1983 has two essential elements: ‘[A]
plaintiff must allege the violation of a right secured by the Constitution and laws of the United
States, and must show that the alleged deprivation was committed by a person acting under color of
State law. Crosby v. City of Gastonia, 635 F.3d 634, 639 (4th Cir. 2011). Government officials are
entitled to qualified immunity as a matter of law so long as they have not violated “clearly
established statutory or constitutional rights of which a reasonable person would have known.”
Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). In other words, courts ask “whether it would be
clear to a reasonable officer that his conduct was unlawful in the situation he confronted.” Saucier v.
Katz, 533 U.S. 194, 202 (2001). Qualified immunity extends to government officials' objectively
reasonable mistakes, “regardless of whether the government official's error is a mistake of law, a
mistake of fact, or a mistake based on mixed questions of law and fact.” Pearson v. Callahan, 555
U.S. 223, 231 (2009) (internal quotation marks omitted). “[T]he immunity inquiry must be filtered
through the lens of the officer’s perceptions at the time of the incident in question.” Rowland, 41
F.3d at 173.

Such a perspective serves two purposes. First, using the officer’s perception of the facts at the
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time limits second-guessing the reasonableness of actions with the benefit of 20/20 hindsight.
Second, using this perspective limits the need for decision-makers to sort through conflicting
versions of the “actual” facts, and allows them to focus instead on what the police officer reasonably
perceived. In sum, the officer’s subjective state of mind is not relevant to the qualified immunity
inquiry but his perceptions of the objective facts of the incident in question are. Jd. (citations
omitted). The qualified immunity defense “protects all but the plainly incompetent or those who
knowingly violate the law,” and it “protects law enforcement officers from bad guesses in gray areas
and ensures that they are liable only for transgressing bright lines.” Waterman v. Batton, 393 F.3d
471, 476 (4th Cir. 2005) (citation and internal quotation marks omitted).

“It operates to ensure that before they are subject to suit, officers are on notice that their
conduct is unlawful.” Braun v. Maynard, 652 F.3d 557, 560 (4th Cir. 2011). “{QJualified immunity
protects officers who commit constitutional violations but who, in light of clearly established law,
could reasonably believe that their actions were lawful.” Durham v. Horner, 690 F.3d 183, 188 (4th
Cir. 2012). “Hence, our qualified immunity defense involves a ‘two-step’ inquiry, asking ‘first
whether a constitutional violation occurred and second whether the right violated was clearly
established.”” /d. at 188 (quotation omitted). “In analyzing whether the defendant has violated a
constitutional right of the plaintiff, the court should identify the right ‘at a high level of
particularity.” Bland, 730 F.3d at 391 (quotation omitted). “For a plaintiff to defeat a claim of
qualified immunity, the contours of the constitutional right ‘must be sufficiently clear that a
reasonable person would understand that what he is doing violates that right.’” Jd. at 391 (Quotation
omitted.).

“Police officers sued in their individual capacities... have qualified immunity with respect to
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official actions taken in good faith.” Hughes v. Blankenship, 672 F.2d 403, 406 (4th Cir. 1982).
“Individual liability for actions in the performance of official duties arises only when an officer knew
or reasonably should have known that the action he took within the sphere of official responsibility
would violate the constitutional rights of the ... individuals affected, or if he took the action with the
malicious intention to cause deprivation of constitutional rights or injury...” Jd. at 406 (Quotation
omitted). As the Fourth Circuit Court of Appeals has stated: “We do not expect sheriffs to be judges
and to have the training to sort through every intricacy of case law that is hardly a model of clarity.”
Bland v. Roberts, 730 F.3d 368, 394 (4th Cir. 2013)(quotation omitted) (emphasis added). “[P]olice
officers are not expected to parse code language as though they were participating in a law school
seminar.” /d. at 394, Rather, in considering whether constitutional rights were clearly established
for qualified immunity purposes, [the Fourth Circuit Court of Appeals] views the issue from ‘the
layman’s perspective ... recognizing that ‘[particularity with regard to legal conclusions, /ay officers
obviously cannot be expected to perform at the level achievable by those trained in the law.’” Id. at
394 (quotations omitted)(emphasis added).

The Plaintiff alleges in his Complaint that on March 4, 2020, during a contempt hearing in
the Plaintiff's divorce case, Defendant Goldston, along with her Co-Defendants, entered the
Plaintiff's home to search and seize items of personal property which the Plaintiff was alleged to
have failed to turn over to his ex-wife following the finalization of his divorce more than one year
earlier. (/d. at | 10).

The alleged search and seizure happened during what the Defendants believed was a
continuation of a contempt hearing. Defendant McPeake, acting as bailiff for Defendant Judge

Goldston, went to the Plaintiffs residence. Defendant McPeake had an objectively reasonable belief

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that he could go to the Plaintiff's residence with the judge as she continued the contempt hearing.
The qualified immunity defense “protects all but the plainly incompetent or those who knowingly
violate the law,” and it “protects law enforcement officers from bad guesses in gray areas and
ensures that they are liable only for transgressing bright lines.” Waterman v. Batton, 393 F.3d 471,
476 (4th Cir. 2005) (citation and internal quotation marks omitted).

“A bailiff is an officer of the court to which he or she is assigned, subject to its control and
supervision, and responsible for preserving order and decorum, taking charge of the jury, guarding
prisoners, and other services which are reasonably necessary for the court’s proper functioning.”
Syllabus Point 2, In re Pauley 173 W.Va. 228, 314 S.E.2d 391 (1983). As such, Defendant
McPeake’s presence with the judge was reasonable under the circumstances.

Furthermore, the Plaintiff failed to properly plead that Defendant McPeake actually seized
any of the property in the Plaintiffs residence. In fact, the Plaintiff has only pled that Defendant
McPeake seized the Plaintiff’s cell phone.

Defendant Goldston did not want the Plaintiff to record the contempt hearing, so Defendant
McPeake seized the Plaintiffs cell phone just as he would have had they been in court. As such,
Defendant McPeake is entitled to qualified immunity.

The Plaintiff has also failed to property plead any facts indicating that Defendants White and
Stump actually took part in an unlawful search and seizure of the Plaintiff's property. Defendants
Stump and White simply responded to a call for back up when they responded to the Plaintiff's
residence. (/d. at { 28). Responding to a call for back up is in their official duties as police officers.
The Plaintiff has also failed to plead that Defendants White and Stump actually seized any of the

Plaintiff's property themselves. The Plaintiff also failed to properly plead that these Defendants

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removed any of the Plaintiffs property and stored it as evidence at the Raleigh Sheriff's Department.
The Plaintiff also failed to properly plead or point to any case law or statute indicating the officers
were required to file a report about their presence at the Plaintiff's residence. All of the acts
performed by Defendants White and Stump were reasonable under the circumstances. As such,
Defendants White and Stump are also entitled to qualified immunity.

II. Plaintiff's Complaint for Violation of the First Amendment against Defendants

McPeake, Stump, and White does not meet the pleading standards of Twombly and

Iqbal.

In Count II of the Plaintiff's Complaint, Plaintiff alleges that he engaged in protected First
Amendment speech and activity when he began to video and audio record the defendants on his
property engaging in the alleged search and seizure on March 4, 2020, both through audio recording
device on his person, as well as through video being filmed at his direction on his private property

with the assistance of the third-party bystander at his home. (See Plaintiff's Complaint at § 64).

a. The Plaintiff has failed to properly plead that Defendants White and Stump
seized his cell phone.

The Plaintiff has not properly pled that Defendants White and Stump are liable for a first
amendment violation as pled in Count II. For instance, Defendants White and Stump were not at the
residence when the Plaintiffs cell phone was seized. The Plaintiff alleged in his Complaint that
Deputy McPeake signaled on his radio for law enforcement assistance and seized Plaintiff's phone.
(/d. at§] 23). As one can analyze from the Plaintiff's Complaint, neither Defendants White nor Stump
were present at the home when the Plaintiff's cell phone was allegedly seized. As such, Count II of

the Plaintiff's Complaint should be dismissed against Defendants White and Stump.

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b. Defendant McPeake was acting on an order from Defendant Goldston.

As stated before, acting as bailiff for Defendant Judge Goldston, Defendant McPeake went
to the Plaintiffs residence with Judge Goldston after she stopped a contempt hearing to go to the
Plaintiff's residence. Defendant Goldston did not want the Plaintiff to record the contempt hearing,
so Defendant McPeake seized his phone just as he would have had they been in court. Defendant
McPeake had an objectively reasonable belief that he could seize the Plaintiffs cell phone as the
judge continued the contempt hearing. As such, the Plaintiffhas failed to properly plead a claim for
Violation of the First Amendment against Defendant McPeake and Count II of the Plaintiff's
Complaint should be dismissed.

III. Defendant Raleigh County Commission has qualified immunity for any 42

U.S.C. §1983 claims against it as the Plaintiff has failed to meet the pleading
standards of Twombly and Iqbal.
“[A] municipality cannot be held liable solely because it employs a tortfeasor — or, in other
words, a municipality cannot be held liable under § 1983 on a respondeat superior theory. Monell v.
Dep't of Soc. Servs., 436 U.S. 658, 691 (U.S. 1978). Local government therefore may not be sued
under 1983 solely on a respondeat theory, but rather only when execution of a government’s policy
or custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to
represent official policy, inflicts injury for which the government as an entity is responsible under §
1983. Id. at 694; See also Semple v. City of Moundsville, 195 F.3d 708, 712 (4th Cir. W.Va.
1999)(holding plaintiffs seeking to impose liability on a municipality must adequately plead and
prove existence of an official policy or custom that is fairly attributed to the municipality and that
proximately caused the deprivation of their civil rights). “Proof of a single incident of

unconstitutional activity is not sufficient to impose liability under Monell, unless proof of the

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incident includes proof that it was caused by an existing, unconstitutional municipal policy, which
policy can be attributed to a municipal policymaker.”” Oklahoma City v. Tuttle, 471 U.S. 808, 823-
824 (U.S. 1985); See also Semple, F.3d at 713-14 (proof of single incident of the unconstitutional
activity charged is not sufficient to prove the existence of a municipal custom).

In this case, the Plaintiff has not sufficiently pled what policy or custom of the Raleigh
County Commission is attributable to the Plaintiff's injuries. The Plaintiff has failed to plead any
facts which would indicate that it was the Raleigh County Commission’s policy or custom to assist
Defendant Goldston in visiting litigants’ homes.

The Plaintiff alleges in his Complaint that is was Judge Goldston who had been engaging in
the practice of visiting homes of litigants appearing in front of her. (See Plaintiff's Complaint at J 8).
Any bailiff who would have gone along with Judge Goldston would have gone along with her
pursuant to his or her statutory duties. West Virginia state law establishes the duty of the sheriff to
provide bailiff services to judges within the state of West Virginia. See W.Va. Code § 51-3-5. As
such, the bailiff must be with the judge at all times.

Municipal entities cannot be held liable under section 1983 solely because they employed a
tortfeasor. Rather, when a municipal entity is sued-directly or in an official-capacity suit-the plaintiff
must plausibly allege that a “policy or custom” attributable to the municipal entity caused the
violation of the plaintiff's federally protected rights. See Bd. of Cty. Comm’rs v. Brown, 520 U.S.
397, 410, 117 S.Ct. 1382, 137 L. Ed. 626 (1997); Hafer, 502 U.S. at 25 (1991); Graham, 473 U.S. at
166; Monell, 436 U.S. 658, 690-94, 98 S.Ct. 2018, 56 L. Ed. 2d 611 (1978); King v. Rubenstein, 825
F.3d 206, 223 (4th Cir. 2016); Santos, 725 F.3d at 469-70; Carter v. Morris, 164 F.3d 215, 218-19

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(4th Cir. 1999). A violation results from a municipal entity’s “policy or custom” if the violation

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resulted from “a policy statement, ordinance, regulation, or decision officially adopted and
promulgated by that body’s officers.” Monell, 436 U.S. at 690-91, 694; see St. Louis v. Praprontnik,
485 U.S. 112, 121, 108 S.Ct. 915, 99 L. Ed. 2d 107 (188).

Not every municipal official’s action or inaction represents municipal policy. Rather, the
inquiry focuses on whether the municipal official possessed final policy making authority under state
law concerning the action or inaction. See, e.g. McMillian v. Monroe Cty., 520 U.S. 781, 785-86,
117 S.Ct. 1734, 138 L. Ed. 2d 1 (1997); Pembaur v. City of Cincinnati, 475 U.S. 469, 481, 106 S.Ct.
1292, 89 L. Ed. 2d 452 (1986); Riddick v. Sch.Bd., 238 F.3d 518, 523 (4" Cir. 2000). Furthermore,
even if a section 1983 plaintiff can identify the requisite final policy making authority under state
law, a municipality is not liable simply because a section 1983 plaintiff “is able to identify conduct
attributable to the municipality.” Riddick, 238 F.3d at 524. Instead, a section 1983 “plaintiff must
also demonstrate that, through its deliberate conduct, the municipality was the ‘moving force’ behind
the injury alleged.” Brown, 520 U.S. at 404.

The Plaintiff has failed to plead that the Raleigh County Commission was the driving force
behind any policy or custom to visit litigants’ homes during family court proceedings in Raleigh
County. The Plaintiff also failed to point to any statement, ordinance, regulation, or decision
officially adopted by the Raleigh County Commission that led to a violation of the Plaintiffs rights.
As such, Plaintiff's Complaint amounts to little more than “labels and conclusions” which are
insufficient to plead a cause of action against the Raleigh County Commission. There is no specific
mention of facts that in any way show that Defendant Raleigh County Commission could plausibly
be liable. The allegations in the Complaint are the definition of “naked assertions” of wrongdoing

that the holdings in Twombly and Iqbal seek to prevent. Twombly, 550 U.S. at 557. Given this, all

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of the Plaintiff's claims against Defendant Raleigh County Commission should be dismissed.

IV. __ Plaintiff’s Complaint does not meet the pleading standard of Rule 8 of the
Federal Rules of Civil Procedure as delineated in Twombly and Iqbal and fails to
assert any factual content that would result in reasonable inference that the
Defendants are liable for a violation of the 14th Amendment as alleged in
Counts IV and V of the Complaint.

The Plaintiffs Complaint does not allege any specific acts or facts regarding the Defendants
McPeake, Stump, and White’s connection to the alleged injuries sustained by the Plaintiffas alleged
in Counts IV and V of the Plaintiff's Complaint. Plaintiff fails to adequately state a claim upon
which relief can be granted under the standards of Rule 8 of the Federal Rules of Civil Procedure and
as delineated in Jgbal and Twombly. The only possible mention of these Defendants in Counts IV
and V is when the Plaintiff alleges “[n]o objectively reasonable government official or law
enforcement officer would have a reason to believe that they possessed authority to engage in the
events occurring on the Plaintiff's property on March 4, 2020, including the Fourteenth Amendment
violations which occurred therein.” (See Plaintiff's Complaint at 4 88 and § 100).

This amounts to little more than “labels and conclusions” which are insufficient to plead a
cause of action. The allegations in the Complaint are the definition of “naked assertions” of
wrongdoing that the holdings in Twombly and Iqbal seek to prevent. Twombly, 550 U.S. at 557.

Given this, all of the Plaintiff's claims against Defendants in Counts IV and V should be dismissed.

PRAYER FOR RELIEF

WHEREFORE, based upon the foregoing, these Defendants requests that this Honorable
Court grant their Motion to Dismiss with prejudice and grant Defendants any other and further relief

which the Court deems appropriate.

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COUNTY COMMISSION OF RALEIGH
COUNTY, JEFF McPEAKE, BRIAN
WHITE, and BOBBY STUMP,

By Counsel,

/s/ Kevin J. Robinson

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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY

MATTHEW GIBSON,
Plaintiff,

¥. CIVIL ACTION NO.: 5:21-cv-00181
HONORABLE FRANK W. VOLK

LOUISE E. GOLDSTON, individually,
COUNTY COMISSION OF RALEIGH
COUNTY, a political subdivision,
JEFF MCPEAKE, individually,
BRIAN WHITE, individually,

BOBBY STUMP, individually,

KYLE LUSK, individually,

Defendants.

CERTIFICATE OF SERVICE

The undersigned, counsel of record for Defendants County Commission of Raleigh County, Jeff

McPeake, Brian White, and Bobby Stump, does hereby certify on this 19th day of April, 2021, that a

true copy of the foregoing "DEFENDANTS COUNTY COMMISSION OF RALEIGH

COUNTY, JEFF MCPEAKE, BRIAN WHITE, AND BOBBY STUMP’S MEMORANDUM

OF LAW IN SUPPORT OF THEIR MOTION TO DISMISS THE PLAINTIFF’S

COMPLAINT" was served upon opposing counsel through the Court’s CM/ECF filing system as

follows:

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